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       Robert B. Hammond, Janet K. Cooper,
  12   Rick Kornfeld, and Thomas R. Joseph
  13
  14                        UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA
  16                               WESTERN DIVISION
  17   LISA DOYLE, DERIVATIVELY AND              Case No. 15-CV-07568-SJO (MRWx)
       ON BEHALF OF RESONANT, INC.,
  18
                   Plaintiff,
  19
                   v.                            STIPULATION TO EXTEND STAY
  20                                             OF PROCEEDINGS; JOINT
  21                                             STATUS REPORT
       TERRY LINGREN, JOHN E. MAJOR,
  22   ROBERT B. HAMMOND, JANET K.
       COOPER, RICK KORNFELD, and
  23   THOMAS R. JOSEPH,                         The Honorable S. James Otero
  24                      Defendants,
  25                      and
  26   RESONANT INC.,
  27                      Nominal Defendant.
  28
                                                             STIPULATION TO EXTEND STAY OF PROCEEDINGS
                                                                    CASE NO. 15-CV-07568-SJO (MRWX)
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   1                STIPULATION TO EXTEND STAY OF PROCEEDINGS
   2         WHEREAS, this is a shareholder derivative action (the “Derivative Action”)
   3   brought by a shareholder of Resonant Inc. (“Resonant” or the “Company”),
   4   derivatively on behalf of Resonant against certain of the Company’s officers and
   5   directors.
   6         WHEREAS, a related consolidated securities class action lawsuit alleging
   7   violations of the federal securities laws based on similar facts and circumstances at
   8   issue in the Derivative Action, styled In re Resonant Inc. Sec. Litig., Master File
   9   No. 15-cv-01970-SJO (VBKx) (the “Securities Class Action”), is currently
  10   pending before the Court.
  11         WHEREAS, on November 16, 2015, the Court stayed the Derivative Action,
  12   pursuant to the parties’ stipulation, pending further developments in the ongoing
  13   litigation of the Securities Class Action which the parties believed were likely to
  14   impact the litigation of the Derivative Action. See Dkt. No. 22.
  15         WHEREAS, the Court set a status conference for August 29, 2016, at 8:30
  16   a.m., and ordered the parties to file a joint status report by August 15, 2016 (see
  17   Dkt. No. 24), and the parties submit this Stipulation and Joint Status Report
  18   pursuant to the Court’s order.
  19         WHEREAS, on July 11, 2016, the Court issued an order in the Securities
  20   Class Action granting in part and denying in part Defendants’ motions to dismiss
  21   (the “Order”).
  22         WHEREAS, pursuant to the Court’s order staying the Derivative Action
  23   (Dkt. No. 22), the Order in the Securities Class Action was a “triggering event”
  24   requiring the parties to meet and confer regarding the status of the stay and the
  25   future course of the derivative action.
  26         WHEREAS, Defendants in the Securities Class Action have filed a Motion to
  27   Certify the Court’s Order Denying the Resonant Defendants’ Motion to Dismiss
  28   (Dkt. No. 99) for Immediate Appeal and to Stay Proceedings Pending Appeal in the
                                                                  STIPULATION TO EXTEND STAY OF PROCEEDINGS
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   1   Securities Class Action (“Motion to Certify”), which is noticed for a hearing on
   2   September 12, 2016.
   3          WHEREAS, the parties to the Derivative Action have conferred and agree
   4   that a further stay of the Derivative Action, pending further developments in the
   5   Securities Class Action, is appropriate and would avoid inefficiencies and
   6   duplicative efforts, would better preserve the resources of the parties and the Court,
   7   and would more closely align the proceedings in the Derivative Action with the
   8   proceedings in the Securities Class Action.
   9          WHEREAS, the Parties agree, subject to the Court’s approval, that the stay
  10   of the Derivative Action should be extended at least until the Court’s decision on
  11   the pending Motion to Certify in the Securities Class Action, and that within 21
  12   days following the Court’s decision on the pending Motion to Certify, the parties
  13   shall meet and confer regarding the status of the stay and report to the Court with
  14   the parties’ respective or collective views as to whether the stay should be further
  15   extended.
  16          WHEREAS, in order to preserve party and judicial resources, the parties
  17   further request that the status conference currently scheduled for August 29, 2016 at
  18   8:30 a.m. be continued to December 5, 2016 at 8:30 a.m. or to a date thereafter that
  19   is convenient to the Court.
  20          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED,
  21   subject to the Court’s approval, that:
  22          1.    The current stay of proceedings in the Derivative Action shall remain
  23   in effect.
  24          2.    The Individual Defendants and Resonant shall not be required to
  25   move, answer, plead or otherwise respond to the Complaint (or any amended
  26   complaint) during the pendency of the stay.
  27          3.    In the event that Defendants during the pendency of the stay produce
  28   any discovery (defined below) to the plaintiffs in the Securities Class Action, in any
                                                                 STIPULATION TO EXTEND STAY OF PROCEEDINGS
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   1   other shareholder derivative action alleging substantially the same facts and claims
   2   as those in the Derivative Action (“New Derivative Action”) or in any action or
   3   demand brought against Resonant pursuant to 8 Del C. §220 to compel inspection
   4   of books and records that are substantially related to the facts and claims at issue in
   5   the Derivative Action (“Books and Records Action”), Defendants shall produce to
   6   Plaintiff in the Derivative Action copies of that discovery in the form and manner in
   7   which such discovery is produced to plaintiffs in the Securities Class Action, the
   8   New Derivative Action or the Books and Records Action, provided that Plaintiff
   9   agrees to enter into and be bound by a protective order or confidentiality agreement
  10   that is substantially similar to any protective order or confidentiality agreement
  11   entered in the Securities Class Action, the New Derivative Action or the Books and
  12   Records Action, and Plaintiff agrees to pay the reasonable costs of printing and
  13   postage incurred in producing the additional copy of the discovery in the event such
  14   discovery was not produced in an electronic format, provided that Plaintiff is not
  15   responsible for the costs of any professional fees and services incurred in producing
  16   the additional copy of such discovery. For purposes of this agreement, “Discovery”
  17   is defined to include all documents produced by Defendants in the Securities Class
  18   Action, New Derivative Action or Books and Records Action; all formal responses
  19   by any of the Defendants to interrogatories, requests for production, or requests for
  20   admission in such action(s); and true and correct copies of all transcripts and
  21   exhibits for any deposition taken of any Defendant, including employees of the
  22   Company, in such action(s).
  23            4.   Notwithstanding a stay of this action, Plaintiff is permitted to file an
  24   amended complaint.
  25            5.   The status conference set for August 29, 2016 shall be continued to
  26   December 5, 2016 at 8:30 a.m. or to a date thereafter that is convenient to the
  27   Court.
  28            6.   Within 21 days following the Court’s decision on the pending Motion
                                                                   STIPULATION TO EXTEND STAY OF PROCEEDINGS
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   1   to Certify in the Securities Class Action, the Parties will submit a status report or
   2   stipulation containing their views as to whether the stay should be further extended
   3   pending additional developments in the Securities Class Action.
   4         IT IS SO STIPULATED.
   5
   6 Dated: August 15, 2016            ORRICK, HERRINGTON & SUTCLIFFE LLP
   7
   8                                   By:             /s/ Kevin M. Askew
                                                          Kevin M. Askew
   9
                                       Attorneys for Defendants
  10
  11 Dated: August 15, 2016            THE ROSEN LAW FIRM, P.A.
  12
                                       By:        /s/ Laurence M. Rosen
  13                                                  Laurence M. Rosen
  14                                   Attorneys for Plaintiff
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                                                                  STIPULATION TO EXTEND STAY OF PROCEEDINGS
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